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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     AMARILLO DIVISION

 DONALD J. TRUMP, et al.,

             Plaintiffs,

 v.                                                     2:24-CV-236-Z

 CBS BROADCASTING, INC., et al.,

             Defendants.

                                     SCHEDULING ORDER

        SUMMARY OF IMPORTANT DEADLINES AND DATES

 Joinder of Parties ( 2)                                  Friday, March 14, 2025
 Amendment of Pleadings ({ 3)                            Friday, September 5, 2025
 Initial Designation of Experts by Parties
                                                         Friday, September 5, 2025
 Seeking Affirmative Relief ({ 5(A))
 Initial Designation of Experts by Parties
                                                          Friday, October 3, 2025
 Opposing Affirmative Relief ({ 5(A))
 Expert Disclosures by Parties Seeking
                                                        Friday, September 19, 2025
 Affirmative Relief ({ 5(B))
 Expert Disclosures by Parties Opposing
                                                         Friday, October 17, 2025
 Affirmative Relief (4 5(B))
 Rebuttal Expert Designation (§ 5(C))              No later than Friday, October 31, 2025
 Expert Objections (J 5(D))                           Wednesday, November     19, 2025
 Mediation (9)                                         Saturday, December 20, 2025
 Completion of Discovery ({ 6)                         Saturday, December 20, 2025
 Dispositive Motions ({ 4)                             Wednesday, February 18, 2026
 Pretrial Disclosures ({ 7)                                Thursday, July 2, 2026
 Pretrial Objections ({ 7)                                 Thursday, July 9, 2026
 Pretrial Materials ({ 8)                                 Thursday, July 16, 2026
 Exchange of Exhibits (4 8(C))                            Thursday, July 23, 2026
 Pretrial Conference ({ 10)                       September 2, 2026, at 10:00 a.m. (CDT)
 Trial Date ({ 1)                                 September 14, 2026, at 9:00 a.m. (CDT)
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       SCHEDULING INSTRUCTIONS

       Pursuant to Federal Rule of Civil Procedure 16(b) and the local rules of this Court, the

Court finds that the following schedule should govern the disposition of this case. Parties must

observe all limitations and requirements of the Federal Rules of Civil Procedure and this Court’s

local rules unless otherwise ordered.

       The Court assumes the parties thoroughly discussed scheduling issues prior to submitting

their proposed scheduling order (ECF No. 44) and that the parties understand the deadlines

imposed in this order are firmly in place, absent the few exceptions set forth below.

       1. Trial Date

       This case is set for trial on this Court’s two-week civil trial docket beginning Monday,

September 14, 2026, at 9:00 a.m. (CDT). Counsel and parties must be ready for trial on three

days’ notice at any time during this two-week period, unless the Court orders otherwise. The trial

date will not be postponed      or continued   except on written motion    establishing exceptional

circumstances and in compliance with Local Rule 40.1.

       2. Joinder of Parties

       By Friday, March 14, 2025, all motions requesting joinder of additional parties shall be

filed. Except when parties are joined by amendment pursuant to paragraph three of this order,

parties may be joined only upon motion to the Court.

       3. Amendment of Pleadings

       By Friday, September 5, 2025, amendments of pleadings shall be filed. Motions for leave

to amend need not be filed so long as the amendment is filed within the deadline set in this

paragraph. Parties are permitted one amendment before leave of court is required. The amending

party shall attach a redlined version of the amended complaint specifying any changes. The
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deadline to file a response to an amended pleading is 21 days after the date the amended pleading

is filed, notwithstanding expiration of the amended-pleading deadline.

        4. Dispositive Motions

        All motions that would dispose of all or any part of this case, including motions for

summary judgment, must be filed by Wednesday, February 18, 2026. Any dispositive motion

must be accompanied by a separately filed brief, and the motion and the brief may not exceed 50

pages in total length, excluding any table of contents and table of authorities. See Local Rules 56.3,

56.5 (regarding summary judgment requirements).

        In a separate section at the beginning of the brief, the parties filing a dispositive motion

must identify the live pleadings for each party who has appeared in the action and specify the name

of each pleading, the date it was filed, and the pleadings’ document numbers on the Court’s docket.

Neither a dispositive motion nor the brief in support may be combined in one document with a

party’s answer. If a dispositive motion becomes moot for any reason, the moving parties must

notify the Court within three business days.

                   A. Dispositive Motion Evidence

        Any   affidavits, depositions,   written discovery   materials, or other summary judgment

evidence must be included in a separate appendix. The appendix must be numbered sequentially

from the first page through the last and include an index of all documents included. An envelope

that contains a nondocumentary or oversized exhibit must be numbered as if it were a single page.

See Local Rule 56.6. The moving parties must bracket in the margin of each document in the

appendix the portions of the document on which the movant relies, and, when citing record

materials in its brief, the moving parties must support each assertion by citing each relevant page

of its appendix.
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                   B. Number of Dispositive Motions

           No party may file more than one motion for summary judgment without leave of court. See

    Local Rule 56.2(b). If a motion for summary judgment is timely filed, the Court may establish a

    summary-judgment briefing schedule by separate order. Except as provided in the Court’s briefing

|   order, no supplemental pleadings, briefs, summary-judgment evidence, or other documents will be
|
    allowed in connection with the motion for summary judgment or response without leave of court.

|   See Local Rule 56.7. Cross-motions for summary judgment must not, except in extraordinary

    circumstances, be permitted to be filed after the dispositive-motion deadline.

           5. Experts

|                  A. Initial Designation of Experts: Unless otherwise stipulated or directed by court
|                          order, the parties seeking affirmative relief shall file a written designation
|                          of the name and address of each expert witness who will testify at trial for
|                          those parties on or before September 5, 2025. The parties opposing
                           affirmative relief shall file a written designation of the name and address of
|
                           each expert witness who will testify at trial for those parties on or before
|                          October 3, 2025.
|
|                  B. Expert Disclosures: Unless otherwise stipulated or directed by court order, the
|                         parties seeking affirmative relief shall file written expert disclosures that
                           comply with Rule 26(a)(2)(B) for each qualifying expert witness on or
|
                           before September 19, 2025. The parties opposing affirmative relief shall
                           file written expert disclosures that comply with Rule 26(a)(2)(B) for each
                           qualifying expert witness on or before October 17, 2025.

                   C. Rebuttal Experts: If the evidence is intended solely to contradict or rebut
}                         evidence on the same subject matter identified by another party under Rule
|                         26(a)(2)(B) or (C), the disclosures required under Rule 26(a)(2) must be
                          made within 30 days after the disclosure made by other parties or no later
                           than October 31, 2025, whichever is earlier.

                   D. Challenges   to Experts:   Objections   to the qualifications   or competency    of
                           experts—sometimes referred to as Daubert motions—must be made in a
                          written motion filed on or before November 19, 2025.
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          6. Completion of Discovery

          By Saturday, December 20, 2025, all discovery must be completed. The parties may agree

to extend this discovery deadline, provided that: (1) the extension does not affect the trial setting,

dispositive-motions deadline, or pretrial-submission dates; (2) the parties submit a joint motion

delineating the amendments; (3) and the Court finds good cause and approves. See FED. R. Civ. P.

16(b)(4) (requiring judge’s consent and good cause for modification). A later discovery deadline

will not be an excuse to delay the deadline to file dispositive motions. The Court expects the parties

to work in good faith to resolve discovery disputes.

                 A. Motion to Compel Discovery or Protective Order

          Any motion to compel discovery or for a protective order must be filed no later than fifteen

days after the discovery response at issue was served or due to be served. Any other motions that

are related to discovery but do not seek to compel or avoid uncompleted depositions, service of

discovery responses, or production of documents or electronically stored information (ESI) must

be filed no later than fifteen days after the discovery response at issue was served or due to be

served.

                 B. Motion to Quash or Protective Order Relating to Deposition

          Any motion to quash or for protective order relating to a deposition that is filed less than

five business days before the scheduled or noticed date of the deposition will be summarily denied

unless, on proper motion, the Court grants leave for the motion to be filed based on a showing of

extraordinary    or extenuating   circumstances   that prevented the requested relief from being

presented to the Court at an earlier date.
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               C. Attorney-Client Privilege and Work-Product Protection

       Further, in accordance with Federal Rule of Evidence 502(d), any attorney-client privilege

or work-product protection will not be waived by disclosure in connection with this case, and the

production of privileged or work-product protected documents, ESI, or information—whether

inadvertent or otherwise—is not a waiver of the privilege or work-product protection in this case

or in any other federal or state proceeding. This order will be interpreted to provide the maximum

protection allowed by Rule 502(d), but nothing contained in this order is intended to or will serve

to limit a party’s right to conduct a review of documents, ESI, or information (including metadata)

for relevance, responsiveness, and segregation of privileged and protected information.

       Under Rule 26(b)(5)(B), if information produced in discovery is subject to a claim of

privilege or protection as trial-preparation material, the parties making the claim may notify any

party that received information of the claim and the basis for it. After being notified, a party must

promptly return, sequester, or destroy the specified information and any copies it has; must not use

or disclose the information until the claim is resolved; must take reasonable steps to retrieve the

information   if the party   disclosed   it before    being   notified;   and   may   promptly    present   the

information to the court under seal for a determination of the claim. The producing party must

preserve the information until the claim is resolved.

               D. Filing Under Seal

       The Court “heavily disfavor[s] sealing information placed in the judicial record” and

discourages such requests. June Med. Servs. L.L.C. v. Phillips, 22 F.4th 512, 519-20 (Sth Cir.

2022). The parties may agree between themselves to designate documents “confidential” during

discovery. The typical standard there involves the parties asserting whether they want that material
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in the public domain. But filing that material with the Court under seal is a different matter

altogether. Binh Hoa Le v. Exeter Fin. Corp., 990 F.3d 410, 419-20 (Sth Cir. 2021).

        A party or parties seeking to file a specific document under seal must: (1) move for leave;

(2) brief the legal authorities indicating the risks of disclosure outweigh the public’s right to know;

and (3) explain that no viable alternative to sealing exists. Ramachandran v. Jain, No. 3:18-CV-

00811-X, 2020 WL 5250542, at *3 (N.D. Tex. Sept. 3, 2020). All facts recited in any such motion

must be verified by the oath or declaration of a person or persons with personal knowledge, which

will assist the Court in making fact findings. /d. “Publicly available information cannot be sealed.”

June Med. Servs., 22 F.4th at 520. If any party wishes to submit confidential information to the

Court, the submission must be filed only in a motion to file under seal.

        7. Pretrial Disclosures and Objections

        Unless otherwise directed by order, the parties must make the disclosures required by Rule

26(a)(3)(A) by Thursday, July 2, 2026. Regarding deposition witnesses, the parties must identify

the portions of the deposition transcript they intend to use. Identification should be done by

highlighting the relevant testimony. Parties’ highlights should be specific to the relevant testimony

only.

        Before Thursday, July 9, 2026, parties must serve and file a list disclosing any objections

to the use   of a deposition    designated   by   other parties under   Rule   26(a)(3)(A)(ii)   and   the

admissibility of materials identified under Rule 26(a)(3)(A)(iii). The list must identify the nature

of the objection. Each objection must identify the specific objectionable portion of the exhibit and

explain in detail the basis of the objection. Other than exhibits on file with the Court, the objecting

parties must attach the materials at issue to the objections. Objections not so disclosed, other than
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    objections under Rules 402 and 403 of the Federal Rules of Evidence, are waived unless the Court

    excuses the failure to disclose for good cause.

            Counsel must confer about exhibits and deposition designations and make reasonable

    efforts to agree on admissibility prior to the pretrial order and pretrial conference, at which time

    the Court will rule on the admissibility of the exhibits.

            8. Pretrial Materials

                    A. Pretrial Order: A joint pretrial order must be submitted by the Plaintiffs’
                            attorney(s) by Thursday, July 16, 2026. The pretrial order must address
                            each matter listed in Local Rule 16.4 and state the estimated length of trial.
                            If an attorney for any party does not participate in the preparation of the
                           joint pretrial order, the opposing attorney must submit a separate pretrial
                           order with an explanation of why a joint order was not submitted (so that
                           the Court can impose sanctions, if appropriate). Any party may present its
                           version of any disputed matter in the joint pretrial order, meaning failure to
                            agree upon content or language is not an excuse for submitting separate
                            pretrial orders. When the joint pretrial order is approved by the Court, it will
                            control all subsequent proceedings. The proposed pretrial order should be
                            addressed to Kacsmaryk_Orders@txnd.uscourts.gov.

                    B. Witness List: Each party must file a list of witnesses who may be called by each
                           party in its case in chief by Thursday, July 16, 2026. Each witness list must
                            contain a brief narrative summary of the testimony to be elicited from each
                            witness, state whether the witness has been deposed, and note whether the
                            witness’s testimony at trial is probable or possible. The witness list should
                            also state whether the witness will offer testimony as an expert, record
                            custodian, or fact witness. If any witness needs an interpreter, please note
|                           this on the witness list and arrange for an interpreter to be present at trial.
|
|                   C. Exhibit List and Deposition-Testimony Designations: A list of exhibits,
|                          including demonstrative exhibits, and a designation of portions of
                           depositions to be offered at trial must be filed by each party by Thursday,
                            July 23, 2026. The list of exhibits must describe with specificity the
                            documents or things in numbered sequence. The documents or things to be
                            offered as exhibits must be numbered by attachment of labels to correspond
                            with the sequence on the exhibit list and identify the party submitting the
                            exhibit.

|                           Each party’s exhibit list must be accompanied by a written statement, signed
                            by counsel for each party, and must state that, as to each exhibit shown on
                            the list, either (i) the parties agree to the exhibit’s admissibility; or (ii) the
                            admissibility of the exhibit is disputed, specifically identifying the nature

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                   and legal basis of any objection and the objected-to portions of the exhibit
                   as well as the name     of the objecting party or parties. All parties must
                   cooperate in preparing such statements in a timely manner for filing with
                   the exhibit lists. The Court may exclude any exhibit offered at trial if such
                   a statement regarding the exhibit has not been timely filed. In addition,
                   objections not adequately identified in the statement may be waived. A list
                   of each party’s exhibits to which no objection will be lodged (pre-admitted)
                   must be submitted at the pretrial conference. The Court expects the parties
                   to confer and agree to admit the majority of their exhibits prior to trial.

                   Counsel for all parties intending to offer exhibits must exchange a set of
                   marked exhibits with opposing counsel at least 14 days before trial and
                   must deliver a set of marked exhibits to the Amarillo Division’s Clerk’s
                   Office, marked to the attention of Judge Kacsmaryk’s chambers. Exhibits
                   are to be placed in three-ring binders, the front of the binder is to be labeled
                   with the style of case, case number, name of the submitting parties, and
                   volume number, and the spine of each binder should be labeled with the             |
                   appropriate exhibit numbers and/or range of exhibit numbers. The parties
                   should make sure that the size of the exhibit binders is not overly                ,
                   cumbersome for the Court to utilize on the bench—the Court prefers each            |
                   binder to contain no more than approximately 300 pages.                                |

            D. Jury Charge: The parties must file a joint proposed jury charge and verdict
                   form, agreed to by all parties to the maximum extent possible, no later than
                   Thursday, July 16, 2026. The parties must simultaneously email the agreed
                   charge and verdict form in Word format to Kacsmaryk_Orders@txnd.                   |

                   uscourts.gov. Counsel for Plaintiffs is responsible for typing, collating, and
                   otherwise preparing, filing, and serving the final document.

                   All proposed jury instructions and questions must include citation to any
                   pertinent authorities and, if applicable, pattern instructions. The Court
                   specifically advises the parties to rely, wherever possible, on United States      ,
                   Supreme Court and Fifth Circuit authority and pattern instructions or, if
                   necessary, relevant state-law authority and pattern instructions.

                   The Court expects the parties to engage—in person, by telephone, or by
                   video teleconference—in meaningful discussions to reach agreement on
                   each portion of the proposed jury charge and verdict form. When a
                   disagreement persists, those portions of the joint proposed jury charge that
                   are proposed by any plaintiff, but objected to by any defendant, must be
                   underlined. Those portions of the jury instructions or questions that are
                   proposed by any defendant, but objected to by any plaintiff, must be in
                   boldface. Competing versions of instructions or questions on the same topic
                   must appear sequentially in the joint proposed jury charge and verdict form,
                   with a plaintiffs’ version listed first and a defendants’ version listed second.
                   To the extent that the joint proposed jury charge and verdict form includes
                   any disputed portions, all parties must also file a brief in support of their

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                   legal positions regarding the disputed portions of the joint proposed jury
                   charge and verdict form. If supplemental jury instructions or questions
                   become necessary due to the nature of the evidence presented at trial, any
                   proposed supplemental instructions or questions must be filed with the
                   Clerk of Court as soon as reasonably possible and simultaneously emailed
                   in Word format to Kacsmaryk_Orders@txnd.uscourts.gov.

            E. Voir Dire: Voir dire will be conducted initially by the Court, with each party
                   being allotted twenty (20) minutes for supplementary voir dire. Parties
                   must submit any requested voir dire questions to Kacsmaryk_Orders@txnd.
                   uscourts.gov no later than the pretrial conference. Depending on need, the
                   Court may provide a written questionnaire for the jury pool to answer.
                   Additionally at voir dire, the parties will be provided a “Juror Chart” with
                   the venire panel members plotted by venireperson, in order, with the name,
                   occupation, age, and marital status of each venireperson printed on each
                   space provided.

            F. Motions in Limine: Motions in limine must be filed with the Court and served
                   on the opposing parties by Thursday, July 9, 2026. Motions in limine must
                   contain both discrete topics that are actually in dispute and supporting legal
                   authority (e.g., Fifth Circuit precedent, relevant statutes, relevant federal
                   tules, etc.) for each topic. Motions in limine are subject to good-faith
                   compliance with the conference requirements of Local Rule 7.1(a). This
                   conference will help the parties to narrow issues and determine the topics
                   that are actually in dispute.

                   Boilerplate requests that are not tailored to a case-specific matter will not
                   be tolerated. Parties may not raise an issue in a motion in limine in an effort
                   to obtain a substantive ruling that should have been requested in advance of
                   trial by appropriate motion.

                   Responses must be filed with the Court and served on the opposing parties
                   by Thursday, July 16, 2026. Responses must contain legal authority (e.g.,
                   Fifth Circuit precedent, relevant statutes, relevant federal rules, etc.) that
                    supports the respondent’s position.

                   Replies to responses are due Monday, July 20, 2026.

                   If no topics are disputed after the Rule 7.1 conference, the parties must file
                   a joint advisory with the Court by Monday,          July   13, 2026. The joint
                   advisory must confirm that the parties engaged in a Rule 7.1 conference in
                   good faith, no disputed topics exist, and a motion in limine is unnecessary.

            G. Trial Briefs: A short trial brief, not to exceed five (5) pages (excluding any table
                    of contents and table of authorities), is required of each party and must be
                    filed by Friday, September 4, 2026. The trial briefs should briefly explain
                   and address issues the parties anticipate will arise at trial. In any trial, the

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                      Court also welcomes short trial briefs filed by the parties during trial to
                      address any unanticipated issues that arise.

               H. Trial Binders: No later than by 5:00 p.m. on Friday, September 4, 2026, all
                      parties must deliver to the Court, after allowing an inspection by the
                      opposing parties, a three-ring, tabbed trial binder that contains: (1) a table
                      of contents; (2) all attorney’s contact information; (3) witness lists; (4)
                      exhibit lists; (5) relevant pretrial motions    and orders expected to be
                      addressed during trial; (6) the Joint Proposed Jury Charge; (7) relevant
                      bench briefs and caselaw; (8) the trial brief; (9) any motions in limine; and
                      (10) any other relevant documents that will assist the Court and the parties
                      during trial.

                      The exhibits that will be sent to the Amarillo Division Clerk’s Office in a
                      separate binder, as stated in subsection 8(C) of this order, should not be
                      included in the trial binder.

                      The binders must be three-ring binders, the front of the binder is to be
                      labeled with the style of case, case number, name of the submitting parties,
                      and volume number, and the spine of each binder should be labeled as “Trial
                      Binder—[Party Name]”. The parties should make sure that the size of the
                      trial binders is not overly cumbersome for the Court to utilize on the
                      bench—the Court prefers each binder to contain no more than
                      approximately 300 pages.

       9. Mediation

       The Court requires the parties to engage in mediation. Any mediation must be completed

by Saturday, December 20, 2025. If the parties cannot agree on a mediator, the parties must file

a joint notice to the Court explaining why they cannot agree and request that the Court appoint a

mediator. The parties must notify the Court at least fourteen (14) days prior to the mediation

deadline. The Court will then appoint a mediator, and the parties will bear the cost of mediation.

       10. Pretrial Conference

       A pretrial conference will be held at 10:00 a.m. (CDT) on Wednesday, September 2,

2026, in person at the J. Marvin Jones Federal Building and Mary Lou Robinson United States

Courthouse, 205 Southeast Fifth Street, Amarillo, Texas 79119. Here, the Court will discuss and

finalize the time limits on the presentation of evidence to reduce the estimated trial length. Lead

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counsel for all parties must attend. FED. R. Civ. P. 16(c)(1). Lead counsel must have the authority

to enter into stipulations and admissions to facilitate the admission of evidence and reduce the time

and expense of trial. Jd. All undecided pretrial motions will be resolved at that time, and procedures

for trial will be discussed. The Court will hear and decide objections on exhibits. At the pretrial

conference, it should be possible to assign a specific date for trial during the three-week docket.

        11. Modification of the Scheduling Order

       This order controls the disposition of this case unless it is modified by the Court upon a

showing of good cause and by leave of court. FED. R. Civ. P. 16(b)(4). Conclusory statements will

not suffice to show good cause—even if the motion is agreed or unopposed.

        12. Trial Procedures

       Unless leave of court is obtained, the Court will limit the examination of each witness to

direct examination, cross-examination, one redirect examination, and one recross-examination.

The redirect and recross must be limited to the subject of the immediately preceding examination.

The Court adheres to the scope of cross-examination as outlined in Federal Rule of Evidence

611(b). Local Rule 83.4 governs the conduct of counsel at trial.

        Each party is responsible for keeping track of which exhibits are admitted during trial, for

conferring with opposing counsel on a consolidated list, and for submitting the list as a table of

contents to accompany the exhibits to the jury room and to file of record in the case. If the parties

have electronic evidence they intend to admit as exhibits and send to the jury room, the parties

must bring the necessary equipment to view it in the jury room.

        13. Stays and Administrative Closure

        Administrative closure of a civil case terminates all pending motions unless the parties

request that any or all pending motions revive with reopening. Any motion for stay must include



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a request specific to each pending motion. If requested, the Court will instruct the Clerk of the

Court not to terminate each requested motion.

       14. Trial Requirements—Daily Synopses, Pretrial Joint Exhibit List

       To   ensure   a fair and   efficient trial, the Court    ORDERS     that, starting   on   Saturday,

September 12, 2026, and continuing through the duration of trial, parties must provide the Court

with daily requirements according to the following instructions:

               The parties presenting evidence the following day must email the Court (Victoria_
               Shrewsbury@txnd.uscourts.gov), as well as all counsel, by 7:30 p.m. (CDT)
               identifying: (1) witnesses it intends to present; (2) exhibits it intends to cover; (3)
               demonstratives it intends to use the following day; and (4) a summary of the
               testimony it intends to elicit from each witness.

               The opposing side must email the Court, as well as all counsel, by 9:30 p.m. (CDT)
               the same day specifying what, if any, objections it has to those exhibits or
               demonstratives. Each objection must contain a concise written basis for the
                objection with a citation to the relevant authority. Explanations should be in plain
                English. A mere citation to a rule number is insufficient. The Court will rule on
               those objections at 8:30 a.m. (CDT)             the next morning,   time permitting, or at
               sidebars throughout trial.

       15. Compliance with this Order

       Counsel and the parties are expected to comply fully with this order. Failure to comply will

cause the Court to consider the entire range of sanctions available.

       SO ORDERED.

       February ZO 2025
                                                                              cr
                                                                              —
                                                         MATHEW J. KACSMARYK
                                                         UNITED STATES DISTRICT JUDGE
